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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 STARR COLEMAN,

        Plaintiff,

 v.                                                 CASE NO.: 8:17-cv-00804-EAK-MAP

 TRANSWORLD SYSTEMS, INC.,

        Defendant.


                                          ./


                      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


               COMES NOW the Plaintiff, STARR COLEMAN, and the Defendant, TRANSWORLD

SYSTEMS, INC., pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through their undersigned counsel,

hereby stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the

Defendant, in the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees,

costs and expenses.

      By:
        s/ Amanda J. Allen, Esq.                             /s Ashley N. Rector, Esq.
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                                   CERTIFICATE OF SERVICE

      I certify that on January 30, 2018 a copy of the foregoing document was served on all counsel of
record via CM/ECF.



                                           s/Amanda J. Allen, Esq.
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